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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

ROBERT TOWNSEND                                                           PLAINTIFF

V.                                   4:11CV00539 JMM

CHICK-FIL-A, INC.                                                         DEFENDANT



                                         JUDGMENT

       Pursuant to the Order granting Defendant’s Motion for Summary Judgment, Judgment is

hereby entered in favor of Defendant and against the Plaintiff. The case is dismissed with

prejudice.

       IT IS SO ORDERED this 15th day of September, 2011.



                                                    _________________________________
                                                    James M. Moody
                                                    United States District Judge
